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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


ANDREW H. WARREN,

      Plaintiff,

vs.                                           Case No. 4:22cv302-RH-MAF

RON DESANTIS,

     Defendant.
_______________________________/


                                 ORDER

      Earlier today, an Order, ECF No. 77, was entered on the motion for

leave to appear pro hac vice, ECF No. 76, filed by attorney David A. O’Neil.

ECF No. 76. The motion was “provisionally” granted because it did not

appear that counsel had completed the online Attorney Admission Tutorial.

ECF No. 77. The motion advised on page one that counsel had reviewed

this Court’s local rules, but further review of the motion shows that page

two of the motion provided the “Attorney Admission Tutorial confirmation

number.” ECF No. 76 at 2. No further action is required by counsel.
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      Accordingly, it is ORDERED that counsel David O’Neil is not required

to take further action concerning the motion for leave to appear pro hac

vice, ECF No. 76, which was GRANTED earlier this day.

      DONE AND ORDERED on October 14, 2022.



                                 S/ Martin A. Fitzpatrick
                                 MARTIN A. FITZPATRICK
                                 UNITED STATES MAGISTRATE JUDGE




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